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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS
                                  WICHITA DIVISION

SHAWN WOOD, an individual; on behalf )
of himself and others similarly situated, )
                                          )
                       Plaintiff,         )
                                          )
vs.                                       )           CASE NO. 2:11-cv-02691-JTM-GLR
                                          )
VIRTUOSO SOURCING GROUP, LLC, )
et al.,                                   )
                                          )
                       Defendants.        )

         JOINT MOTION TO STAY PROCEEDINGS PENDING SETTLEMENT

        COME NOW Plaintiff, Shawn Wood (“Plaintiff”), and Defendants, Virtuoso Sourcing

Group, LLC and Judith A. Laspada, (jointly “Defendants”), and respectfully move the Court to

stay the proceedings herein. In support of this Motion, Plaintiff and Defendants state as follows:

        1.      On January 31, 2013, a mediation was held. The parties were unable to reach a

settlement at the mediation.

        2.      Upon further negotiations, Plaintiff and Defendants have agreed to resolve the

litigation on a confidential basis.

        3.      The agreed resolution of this matter includes certain actions to be taken by the

parties, the last of which is scheduled to occur on or before May 7, 2013.

        4.      Plaintiff and Defendants request that the Court stay these proceedings until

June 7, 2013, to allow the terms of their settlement agreement to be completed.

        5.      The parties anticipate that this matter will be fully resolved and dismissed well

before June 7, 2013.

        6.      If, for whatever reason, the matter is not dismissed by June 7, 2013, Plaintiff and

Defendants will file a joint status report with the Court.
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       WHEREFORE, Plaintiff and Defendants pray that the Court enter an order staying these

proceedings until June 7, 2013, at which time the parties will file a status report with the Court if

a dismissal has not already been filed.

                                                  Respectfully submitted,
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                                 CERTIFICATE OF SERVICE
       I hereby certify that the foregoing document was filed electronically with the United
States District Court for the District of Kansas this 2nd day of April, 2013, with notice of case
activity generated and sent electronically to all counsel of record.

                                                  s/ Joshua C. Dickinson




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